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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 2:95CR00386-012
                                                )
KENNETH TROY CHALLBERG                          )
                                                )


On October 30, 1997, the above-named was placed on supervised release for a period of 5
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.



                                  Respectfully submitted,


                                  /s/ karen a. meusling

                                  Karen A. Meusling
                      Supervising United States Probation Officer


Dated:         August 18, 2005
               Sacramento, California




                                                                               R ev. 03/2005
                                                                              P R O B 35.M R G
            Case 2:95-cr-00386-JAM Document 683 Filed 08/22/05 Page 2 of 4


Re:   Kenneth Troy CHALLBERG
      Docket Number: 2:95CR00386-012
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.




8/19/2005                                    /s/ David F. Levi
Date                                      David F. Levi
                                          Chief United States District Judge

KAM:kam

Attachment:    Recommendation

cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
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                       RECOMMENDATION TERMINATING
                SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                            vs.                  )    Docket Number: 2:95CR00386-012
                                                 )
KENNETH TROY CHALLBERG                           )
                                                 )


LEGAL HISTORY:

On October 30, 1997, the above-named was placed on supervised release for a period of
5 years, which commenced on December 13, 2001. Special conditions included a
requirement for warrantless search, participation in a correctional treatment program for drug
or alcohol abuse, and no pager or cellular phone without approval of the probation officer.


SUMMARY OF COMPLIANCE:

Kenneth Challberg has complied with all conditions and special conditions of supervised
release, and has not been involved in any further criminal activities. It is the opinion of the
probation officer supervising Challberg in the Northern District of California that Kenneth
Challberg has derived maximum benefit from supervision and is not in need of continued
supervision.




                                                                                      Rev. 03/2005
                                                                                    EARLITRM.MRG
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  Re:       Kenneth Troy CHALLBERG
            Docket Number: 2:95CR00386-012
            RECOMMENDATION TERMINATING
            SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that supervised release in this case be terminated
early.

                                         Respectfully submitted,


                                     /s/ karen a. meusling
                                       Karen A. Meusling
                           Supervising United States Probation Officer

Dated:           August 18, 2005
                 Sacramento, California


KAM:kam
cc:  AUSA Robert M. Twiss (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recom m endation
         and Prob35-Order Term inating Supervised Release Prior to Expiration Date, will be subm itted to the
         Court for approval.) Spoke with AUSA Twiss on August 17, 2005, and he has no objection to the early
         term ination.




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